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                                       SCHEDULE OF RECEIPTS AND DISBURSEMENTS
     FOR THE PERIOD BEGINNING              3/1/2019                          AND ENDING           3/31/2019

    Name of Debtor:                     Fibrant LLC, et al.,                 Case Number          18-10274
    Date of Petition:                       2/23/2018
                                                                      CURRENT                            CUMULATIVE
                                                                      MONTH                           PETITION TO DATE
    1. FUNDS AT BEGINNING OF PERIOD                                            5,472,651 (a)(d)                  1,827,579 (b)(d)
    2. RECEIPTS:
      A. Cash Sales                                                                  -                                 -
          Minus: Cash Refunds                          (-)                           -                                 -
          Net Cash Sales                                                             -                                 -
      B. Accounts Receivable                                                         -                           1,768,910
      C. Other Receipts (See MOR-3)                                                4,384                        17,090,692
      (If you receive rental income, you must attach a rent roll.)

    3. TOTAL RECEIPTS (Lines 2A+2B+2C)                                             4,384                        18,859,603
    4. TOTAL FUNDS AVAILABLE FOR                                               5,477,035                        20,687,181
      OPERATIONS (Line 1 + Line 3)

    5. DISBURSEMENTS
      A. Advertising                                                                                                   -
      B. Bank Charges                                                             4,420                             71,744
      C. Contract Labor                                                           9,306                            553,281
      D. Fixed Asset Payments (not incl. in “N”)                                    -                                  -
      E. Insurance                                                                  -                              249,954
      F. Inventory Payments (See Attach. 2)                                         -                                  -
      G. Leases                                                                     958                            199,506
      H. Manufacturing Supplies                                                     -                                  -
      I. Office & Misc Supplies                                                     172                              3,109
      J. Payroll - Net                                                           18,729                          4,008,203
      K. Professional Fees (Accounting & Legal)                                 731,873                          5,099,238
      L. Rent of Equipment                                                          -                              152,601
      M. Repairs & Maintenance                                                      298                          2,892,111
      N. Secured Creditor Payments (See Attach. 2)                                  -                                  -
      O. Taxes Paid - Payroll (See Attachment 4C)                                   -                                  -
      P. Taxes Paid - Sales & Use (See Attachment 4C)                               -                               33,586
      Q. Taxes Paid - Other (See Attachment 4C)                                     -                                1,609
      R. Telephone                                                                  531                            100,840
      S. Travel & Entertainment & Business Meals                                                                     9,517
      Y. U.S. Trustee Quarterly Fees                                                                               139,186
      U. Utilities                                                                 1,011                           994,151
      V. Vehicle Expenses                                                            -                                 -
      W. Other Operating Expenses (See MOR-3)                                     35,795                         1,504,605
      6. TOTAL DISBURSEMENTS (Sum of 5A thru W)                               803,093.44                        16,013,240
      7. ENDING BALANCE (Line 4 Minus Line 6)                                  4,673,942 (c)(d)                  4,673,942 (c)(d)

    (During this period, no disbursements made by any debtor entity other than Fibrant, LLC.)
    I declare under penalty of perjury that this statement and the accompanying documents and reports are true and correct to
    the best of my knowledge and belief.
    This 12 th day of April, 2019.
     Lisa S Quattlebaum
    (Signature)

    (a) This number is carried forward from last month’s report. For the first report only, this number will be the balance as of the
    petition date.
    (b) This figure will not change from month to month. It is always the amount of funds on hand as of the date of the petition.
    (c)These two amounts will always be the same if form is completed correctly.
    (d) Does not include funds in Wells Fargo Escrow - ChemicaInvest (decommissioning) Account or Wells Fargo Escrow - Shaw
    (Environmental) Account (See MOR-14 for Escrow Accounts)


                                                                     MOR-2
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                     MONTHLY SCHEDULE OF RECEIPTS AND DISBURSEMENTS (cont’d)

                                    Detail of Other Receipts and Other Disbursements


OTHER RECEIPTS:
Describe Each Item of Other Receipt and List Amount of Receipt. Write totals on Page MOR-2, Line 2C.
                                Description                           Current Month              Cumulative Petition to Date
              Escrow Draw-Decommissioning Acct                   $                    -         $                  7,181,433
              Shaw Escrow (Environ Remed) Draw                   $                    -         $                  3,097,293
              Property Sale                                      $                    -         $                  4,974,353
              Fibrant/Augusta Sulfate Co Escrow                  $                  3,384       $                    836,960
              Vendor Return/Refunds                              $                    -         $                    177,824
              Benefits Vendors Refunds                           $                    -         $                    143,035
              Vendor Deposit/Retainer Returns                    $                    -         $                    205,049
              Used Catalyst Recovery Value                       $                    -         $                     61,636
              Duty Drawback - 2015 Import                        $                    -         $                    153,109
              Land Lease - Resins & Praxair                      $                  1,000       $                    260,000
              TOTAL OTHER RECEIPTS                               $                  4,384       $                 17,090,692

“Other Receipts” includes Loans from Insiders and other sources (i.e. Officer/Owner, related parties directors, related
corporations, etc.). Please describe below:



 Loan Amount                    Source of Funds                   Purpose                        Repayment Schedule
    None


OTHER DISBURSEMENTS:
Describe Each Item of Other Disbursement and List Amount of Disbursement. Write totals on Page MOR-2, Line 5W.


                                 Description                           Current Month               Cumulative Petition to Date
              Director Fee                                        $              15,000           $                   181,198
              Licenses & Permits                                                                  $                      2,590
              Packaging Supplies                                                                  $                     16,420
              Security                                                                            $                     13,832
              Product Shipping/Returned Check                                                     $                   222,627
              Waste Handling                                                                      $                   262,758
              Consultants                                         $                  8,000        $                   625,556
              Letter of Credit Fees                                                               $                     86,930
              Continuing Ed Seminars/Prof License Fees                                            $                      3,337
              Stormwater Fees/Lab Services                        $                10,698         $                     75,882
              IT Server Hosting/Software                          $                 2,098         $                     13,386
              Auto/Fuel                                                                           $                         89
              TOTAL OTHER DISBURSEMENTS                           $                35,795         $                 1,504,605

NOTE: Attach a current Balance Sheet and Income (Profit & Loss) Statement.




                                                            MOR-3
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                                            ATTACHMENT 1
                         MONTHLY ACCOUNTS RECEIVABLE RECONCILIATION AND AGING

Name of Debtor:               Fibrant LLC, et al.,           Case Number                     18-10274

Reporting Period beginning             3/1/2019              Period ending                   3/31/2019

ACCOUNTS RECEIVABLE AT PETITION DATE:                        $                278,001        (Consolidated/removes GA Monomers AR )


                                                     ACCOUNTS RECEIVABLE RECONCILIATION
(Include all accounts receivable, pre-petition and post-petition, including charge card sales which have not been received):

  Beginning of Month Balance (Petition Date)             $                     62,749 (a) (Consolidated/removes GA Monomers AR )
    PLUS: Current Month New Billings                     $                        -
    MINUS: Collection During the Month                   $                        -   (b)
    PLUS/MINUS: Adjustments or Writeoffs                 $                            *
  End of Month Balance                                   $                     62,749 (c)

*For any adjustments or Write-offs provide explanation and supporting documentation, if applicable:




                                           POST PETITION ACCOUNTS RECEIVABLE AGING
                                   (Show the total for each aging category for all accounts receivable)

        0-30 Days                     31-60 Days                     61-90 Days                      Over 90 Days                     Total
                (12,224)                                 $                         -     $                    74,973          $        62,749




For any receivables in the “Over 90 Days” category, please provide the following:

                                                             Status (Collection efforts taken, estimate of
      Customer                     Receivable Date           collectability, write-off, disputed account, etc.)
Chemtrade Chemicals US
                                   Oct & Dec 2017                 Set off against future contract rejection claim
         LLC




(a)This number is carried forward from last month’s report. For the first report only, this number will be the balance as of the petition
date.
(b)This must equal the number reported in the “Current Month” column of Schedule of Receipts and Disbursements (Page MOR-2,
Line 2B).
(c)These two amounts must equal.




                                                                  MOR-4
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                                                       ATTACHMENT 2
                                    MONTHLY ACCOUNTS PAYABLE AND SECURED PAYMENTS REPORT

Name of Debtor:                     Fibrant LLC, et al.,         Case Number:                               18-10274

Reporting Period beginning              3/1/2019                 Period ending                             3/31/2019

In the space below list all invoices or bills incurred and not paid since the filing of the petition. Do not include amounts owed prior to filing the petition. In
the alternative, a computer generated list of payables may be attached provided all information requested below is included.


POST-PETITION ACCOUNTS PAYABLE
     Invoice Date               Days Past Due                              Vendor                          Description                          Amount
See MOR-5 Schedule 1: POST-PETITION ACCOUNTS PAYABLE




                                                                                                        TOTAL AMOUNT             $                         254,847

                               Check here if pre-petition debts have been paid. Attach an explanation and copies of supporting documentation.
                               See MOR-5 Schedule 2: PRE-PETITION DEBTS PAID

                                    ACCOUNTS PAYABLE RECONCILIATION (Post Petition Unsecured Debt Only)
  Opening Balance                                                            $                    526,625 (a)
    PLUS: New Indebtedness Incurred This Month                               $                    509,123
    MINUS: Amount Paid on Post Petition,                                     $                    780,900
           Accounts Payable This Month                                       $
    PLUS/MINUS: Adjustments                                                  $                             *
  Ending Month Balance                                                       $                    254,847 (c)

*For any adjustments provide explanation and supporting documentation, if applicable.

                                                                  SECURED PAYMENTS REPORT

List the status of Payments to Secured Creditors and Lessors (Post Petition Only). If you have entered into a modification agreement with a secured
creditor/lessor, consult with your attorney and the United States Trustee Program prior to completing this section.




                                 Date Payment Due this                                              Number of Post Petition          Total Amount of Post Petition
Secured Creditor/Lessor                 Month                     Amount Paid this Month             Payments Delinquent                 Payments Delinquent
          NONE

                               TOTAL                                                         (d)


(a)This number is carried forward from last month’s report. For the first report only, this number will be zero.
(b, c)The total of line (b) must equal line (c).
(d)This number is reported in the “Current Month” column of Schedule of Receipts and Disbursements (Page MOR-2, Line 5N).




                                                                              MOR-5
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                                                                               ATTACHMENT 2
                                                                      POST-PETITION ACCOUNTS PAYABLE

Name of Debtor:                  Fibrant LLC, et al., Case Number:                                  18-10274

Reporting Period beginning          3/1/2019         Period ending                                  3/31/2019

In the space below list all invoices or bills incurred and not paid since the filing of the petition. Do not include amounts owed prior to filing the petition. In the
alternative, a computer generated list of payables may be attached provided all information requested below is included.

POST-PETITION ACCOUNTS PAYABLE
      Invoice Date        Days Past Due                               Vendor                                  Description                         Amount
                3/1/2019              0              Alvarez & Marsal North America, LLC            Professional Fees                                (2,289.00)    Holdback Amt
               4/30/2018              0              Crystal Springs                                Repairs & Maintenance                               202.44     Credit
               2/20/2019              0              King & Spalding, LLP                           Professional Fees                               (33,827.20)    Holdback Amt
               3/11/2019              0              King & Spalding, LLP                           Professional Fees                              (180,271.82)
               3/11/2019              0              King & Spalding, LLP                           Professional Fees                               (19,989.00)    Holdback Amt
               3/28/2019              0              Klosinski Overstreet LLP                       Professional Fees                                (4,675.00)
               2/26/2019              0              Lowenstein Sandler LLP                         Professional Fees                                (7,099.25)    Holdback Amt
               2/28/2019              0              Ramboll Environ US Corporation                 Professional Fees                                (4,774.95)    Holdback Amt
               2/28/2019              0              Ramboll Environ US Corporation                 Professional Fees                                (2,123.65)    Holdback Amt


                                                                                                                                                        (254,847) (b)




                                                                                      MOR-5 Schedule 1
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                                               ATTACHMENT 2
                                           PRE-PETITION DEBTS PAID


Name of Debtor:                    Fibrant LLC, et al.,      Case Number:             18-10274

Reporting Period beginning             3/1/2019              Period ending            3/31/2019

                                                                                            CUMULATIVE
               Description/Vendor                                 Current Month           PETITION TO DATE
               Shipping Motion:                               $                   -   $               33,307
                  CSX Transportation                          $                   -   $                13,406
                  Norfolk Southern Corporation                $                   -   $                 6,370
                  Rick's Transport, Inc.                      $                   -   $                 7,379
                  Schwend Logistics, Inc.                     $                   -   $                 4,805
                  United Parcel Service                       $                   -   $                   395
                  IntelliTrans LLC                            $                   -   $                   452
                  Kankakee, Beaverville                       $                   -   $                   500

               Wage Motion:                                   $                   -   $               43,035
                  FIDELITY INVESTMENTS                        $                   -   $                36,127
                  Ryland Fincher                              $                   -   $                 2,000
                  Delta Dental Insurance Company              $                   -   $                   134
                  David Leach                                 $                   -   $                   487
                  Horizon Healthcare Services Inc                                     $                   225
                  Mercer (US) Inc.                            $                   -   $                   797
                  National Union Fire Insurance Co            $                   -   $                 2,600
                  Lease Plan USA Inc                          $                   -   $                   185
                  HSA Bank                                    $                   -   $                   480

               Tax Motion:                                    $                   -   $               16,749
                  STATE OF GA DEPT OF REVENUE                 $                   -   $               16,749

               TOTAL PRE-PETITION DISBURSEMENTS               $                   -   $             93,091.49




                                                      MOR-5 Schedule 2
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                                                            ATTACHMENT 3
                                                   INVENTORY AND FIXED ASSETS REPORT

Name of Debtor:                     Fibrant LLC, et al.,         Case Number                           18-10274

Reporting Period beginning               3/1/2019                Period ending                         3/31/2019


                                                                 INVENTORY REPORT

INVENTORY BALANCE AT PETITION DATE:
INVENTORY RECONCILIATION:
  Inventory Balance at Beginning of Month                  $                     1,086,502 (a) (Includes Georgia Monomers Inventory)
    PLUS: Inventory Purchased During Month                 $                           -
    MINUS: Inventory Used or Sold                          $                           -
    PLUS/MINUS: Adjustments or Write-downs                 $                                *
  Inventory on Hand at End of Month                        $                     1,086,502

METHOD OF COSTING INVENTORY:                                                FIFO

*For any adjustments or write-downs provide explanation and supporting documentation, if applicable.

                                                                   INVENTORY AGING


 Less than 6 Months old          6 months to 2 years old          Greater than 2 years old        Considered Obsolete                  Total Inventory
                          %                                %                                 %            100              %=            100% *




* Aging Percentages must equal 100%.
☐ Check here if inventory contains perishable items.

                      Description of Obsolete Inventory:         Supplies and maintenance and spare parts

                                                                  FIXED ASSET REPORT

FIXED ASSETS FAIR MARKET VALUE AT PETITION DATE:                         Unknown             (b) Fair market value accounting not done
(Includes Property, Plant and Equipment)

BRIEF DESCRIPTION (First Report Only):

FIXED ASSETS RECONCILIATION:
Fixed Asset Book Value at Beginning of Month               $                              0 (a)(b)
    MINUS: Depreciation Expense                            $                              0
    PLUS: New Purchases                                    $                              0
    PLUS/MINUS: Adjustments or Write-downs                 $                              0 *
Ending Monthly Balance                                     $                              0

*For any adjustments or write-downs, provide explanation and supporting documentation, if applicable.

BRIEF DESCRIPTION OF FIXED ASSETS PURCHASED OR DISPOSED OF DURING THE REPORTING PERIOD:
                                                       No Fixed asset purchases as company decomissioning site

(a)This number is carried forward from last month’s report. For the first report only, this number will be the balance as of the petition date.
(b)Fair Market Value is the amount at which fixed assets could be sold under current economic conditions. Book Value is the cost of the fixed assets
minus accumulated depreciation and other adjustments.




                                                                         MOR-6
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                                              ATTACHMENT 4A
                             MONTHLY SUMMARY OF BANK ACTIVITY - OPERATING ACCOUNT

Name of Debtor:                 Fibrant LLC, et al.,         Case Number:                         18-10274

Reporting Period beginning             3/1/2019              Period ending                        3/31/2019



Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity. A standard bank reconciliation
form can be found at http://www.usdoj.gov/ust/r21/reg_info.htm. If bank accounts other than the three required by the United States
Trustee Program are necessary, permission must be obtained from the United States Trustee prior to opening the accounts. Additionally,
use of less than the three required bank accounts must be approved by the United States Trustee.

NAME OF BANK:                   Bank of America                         BRANCH:                NA
ACCOUNT NAME:                   Fibrant, LLC Business Acct         ACCOUNT NUMBER:             xxxxxx6585
PURPOSE OF ACCOUNT:              OPERATING

  Ending Balance per Bank Statement                                                        $              (2,892)
  Plus Total Amount of Outstanding Deposits                                                $                 -
  Minus Total Amount of Outstanding Checks and other debits                                $                 -      *
  Minus Service Charges                                                                    $                 -
  Ending Balance per Check Register                                                        $              (2,892) **(a)

*Debit cards are used by:    NA/This account does not have Debit cards

**If Closing Balance is negative, provide explanation:


The following disbursements were paid ACH or Wire (do not includes items reported as Petty Cash on Attachment 4D:
 ( ☐ Check here if cash disbursements were authorized by United States Trustee)

                                                                                                                          Reason for Cash
 Date                           Amount                       Payee                             Purpose                    Disbursement
              3/15/2019                      4,420.25        Bank of America                   Bank Fee                   Bank Fee




                                      TRANSFERS BETWEEN DEBTOR IN POSSESSION ACCOUNTS
“Total Amount of Outstanding Checks and other debits”, listed above, includes:

              1/23/2019 $                  26,287.68         Transferred to Wells Fargo Account (3801)
                        $                 NA                 Transferred to Tax Account/Fibrant has no Tax Bank Account


(a) The total of this line on Attachment 4A, 4B and 4C plus the total of 4D must equal the amount reported as
   “Ending Balance” on Schedule of Receipts and Disbursements (Page MOR-2, Line 7).




                                                                 MOR-7 BOA
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                                                                 ATTACHMENT 5A
                                                       CHECK REGISTER - OPERATING ACCOUNT


Name of Debtor:                 Fibrant LLC, et al.,             Case Number:                    18-10274
Reporting Period beginning              3/1/2019                 Period ending                   3/31/2019

NAME OF BANK:                   Bank of America                   BRANCH:

ACCOUNT NAME:                   Fibrant, LLC Business Account

ACCOUNT NUMBER:                 xxxxxx6585

PURPOSE OF ACCOUNT:              OPERATING


Account for all disbursements, including voids, lost checks, stop payments, etc. In the alternative, a computer generated check register can be attached to
this report, provided all the information requested below is included.

DATE                          Check Number                       Payee                           Purpose                          Amount
NONE/Check Services not available for this account




TOTAL                                                                                                                         $




                                                                         MOR-8 BOA
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                                                                      ATTACHMENT 4A
                                                     MONTHLY SUMMARY OF BANK ACTIVITY - OPERATING ACCOUNT

Name of Debtor:                         Fibrant LLC, et al.,     Case Number:                                      18-10274

Reporting Period beginning                  3/1/2019             Period ending                                    3/31/2019

Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity. A standard bank reconciliation form can be found at
http://www.usdoj.gov/ust/r21/reg_info.htm. If bank accounts other than the three required by the United States Trustee Program are necessary, permission must be obtained from
the United States Trustee prior to opening the accounts. Additionally, use of less than the three required bank accounts must be approved by the United States Trustee.


NAME OF BANK:                      Wells Fargo                                BRANCH:                       NA
ACCOUNT NAME:                      Fibrant LLC                        ACCOUNT NUMBER:                       xxxxxx3801
PURPOSE OF ACCOUNT:                OPERATING

Ending Balance per Bank Statement                                                                       $                4,676,833
Plus Total Amount of Outstanding Deposits                                                               $                      -
Minus Total Amount of Outstanding Checks and other debits                                               $                      -   *
Minus Service Charges                                                                                   $                      -
Ending Balance per Check Register                                                                       $                4,676,833 **(a)

*Debit cards are used by:       NA/This account does not have Debit cards

**If Closing Balance is negative, provide explanation:

The following disbursements were paid ACH or Wire Or Bank Cashier's Check (do not includes items reported as Petty Cash on Attachment 4D:
 ( ☐ Check here if cash disbursements were authorized by United States Trustee)

                                                                                                                                                 Reason for Cash
          Date                               Amount                          Payee                                    Purpose                     Disbursement
               3/5/2019             $                 622.62     Microsoft                                  Other - IT Support             Other - IT Support
               3/6/2019             $               5,618.32     Payroll                                    Payroll - Net                  Payroll - Net
               3/6/2019             $                 439.10     Ga Dept Revenue                            Ga PR Taxes                    Ga PR Taxes
               3/6/2019             $               2,829.32     IRS                                        Federal PR Taxes               Federal PR Taxes
               3/7/2019             $               8,000.00     Kevin R. Boyle                             Other - Consultants            Other - Consultants
               3/7/2019             $              15,000.00     Mike McGovern                              Other - Director Fee           Other - Director Fee
               3/7/2019             $               4,430.94     Pitchford Consulting, LLC                  Contract Labor                 Contract Labor
               3/7/2019             $               1,475.00     SullivanStrickler, LLC                     Other - IT Support             Other - IT Support
              3/13/2019             $             304,961.56     King & Spalding, LLP                       Professional Fees              Professional Fees
              3/13/2019             $                 171.50     Daniel G. Wells                            Other - Supplies               Other - Supplies
              3/13/2019             $              14,935.96     Kurtzman Carson Consultants Inc            Professional Fees              Professional Fees
              3/20/2019             $              63,976.35     Lowenstein Sandler LLP                     Professional Fees              Professional Fees
              3/20/2019             $               5,618.30     Payroll                                    Payroll - Net                  Payroll - Net
              3/20/2019             $                 439.10     Ga Dept Revenue                            Ga PR Taxes                    Ga PR Taxes
              3/20/2019             $               2,829.36     IRS                                        Federal PR Taxes               Federal PR Taxes
              3/20/2019             $              20,617.81     Alvarez & Marsal North America, LLC        Professional Fees              Professional Fees
              3/20/2019             $              48,741.50     Kurtzman Carson Consultants Inc            Professional Fees              Professional Fees
              3/20/2019             $                 958.44     Lease Plan U.S.A., Inc.                    Lease                          Lease
              3/20/2019             $              90,601.33     Ramboll Environ US Corporation             Professional Fees              Professional Fees
              3/27/2019             $               9,804.80     AUGUSTA UTILITIES DEPARTMENT               Strom Water Fees               Strom Water Fees
              3/27/2019             $                 955.84     STATE OF GA DEPT OF LABOR                  Payroll                        Payroll
              3/27/2019             $                 531.32     Verizon Wireless                           Telephones                     Telephones
              3/27/2019             $              95,268.95     King & Spalding, LLP                       Professional Fees              Professional Fees
              3/27/2019             $              39,851.05     Lowenstein Sandler LLP                     Professional Fees              Professional Fees
              3/27/2019             $              28,366.50     Alvarez & Marsal North America, LLC        Professional Fees              Professional Fees
              3/27/2019             $                 297.50     Blake & Pendleton Inc                      Maintenance & Repairs          Maintenance & Repairs
              3/27/2019             $                 375.00     Crawford’s Contracting Services            Contract Labor                 Contract Labor
              3/27/2019             $                 893.00     CSRA Analytical Laboratories Inc           Other - Lab Services           Other - Lab Services
              3/27/2019             $               1,011.01     GEORGIA POWER COMPANY                      Utilities                      Utilities
              3/27/2019             $               4,500.01     Goff’s Landscaping, Inc                    Contract Labor                 Contract Labor
              3/27/2019             $               1,328.12     Klosinski Overstreet LLP                   Professional Fees              Professional Fees
              3/27/2019             $               8,119.07     Ramboll Environ US Corporation             Professional Fees              Professional Fees
              3/27/2019             $               1,623.06     Ramboll Environ US Corporation             Professional Fees              Professional Fees
              3/27/2019             $               7,890.00     Ramboll Environ US Corporation             Professional Fees              Professional Fees
              3/27/2019             $               5,591.45     GlassRatner                                Professional Fees              Professional Fees




TRANSFERS BETWEEN DEBTOR IN POSSESSION ACCOUNTS
“Total Amount of Outstanding Checks and other debits”, listed above, includes:

                            $                              -     Transferred to Bank of America Payroll Account
                            $                              -     Transferred to Tax Account/Fibrant has no Tax Bank Account
                            $                              -     Transferred to Bank of America Operating Account

(a) The total of this line on Attachment 4A, 4B and 4C plus the total of 4D must equal the amount reported as
   “Ending Balance” on Schedule of Receipts and Disbursements (Page MOR-2, Line 7).




                                                                                            MOR-7 WF
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                                                                 ATTACHMENT 5A
                                                       CHECK REGISTER - OPERATING ACCOUNT


Name of Debtor:                 Fibrant LLC, et al.,             Case Number:                    18-10274
Reporting Period beginning              3/1/2019                 Period ending                   3/31/2019

NAME OF BANK:                   Wells Fargo                       BRANCH:

ACCOUNT NAME:                   Fibrant LLC

ACCOUNT NUMBER:                 xxxxxx3801

PURPOSE OF ACCOUNT:              OPERATING


Account for all disbursements, including voids, lost checks, stop payments, etc. In the alternative, a computer generated check register can be attached to
this report, provided all the information requested below is included.

DATE                          Check Number                       Payee                           Purpose                          Amount
NONE/Check Services not available for this account




TOTAL                                                                                                                         $




                                                                         MOR-8 WF
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                                             ATTACHMENT 4A
                            MONTHLY SUMMARY OF BANK ACTIVITY - OPERATING ACCOUNT

Name of Debtor:                   Fibrant LLC, et al.,             Case Number:                          18-10274

Reporting Period beginning                  3/1/2019               Period ending                         3/31/2019

Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity. A standard bank reconciliation
form can be found at http://www.usdoj.gov/ust/r21/reg_info.htm. If bank accounts other than the three required by the United States
Trustee Program are necessary, permission must be obtained from the United States Trustee prior to opening the accounts. Additionally,
use of less than the three required bank accounts must be approved by the United States Trustee.

NAME OF BANK:                     Bank of America                     BRANCH:                       NA
                                  Georgia Monomers Co LLC
ACCOUNT NAME:                                                      ACCOUNT NUMBER:                  xxxxxx5146
                                  Business Account
PURPOSE OF ACCOUNT:                OPERATING
Note: This account has been closed

This Account does not have Check services
  Ending Balance per Bank Statement                                                          $                      -
  Plus Total Amount of Outstanding Deposits                                                  $                      -
  Minus Total Amount of Outstanding Checks and other debits                                  $                      -    *
  Minus Service Charges                                                                      $                      -
  Ending Balance per Check Register                                                          $                      -   **(a)

*Debit cards are used by:    NA/This account does not have Debit cards

**If Closing Balance is negative, provide explanation:


The following disbursements were paid ACH or Wire (do not includes items reported as Petty Cash on Attachment 4D:
 ( ☐ Check here if cash disbursements were authorized by United States Trustee)

                                                                                                                                Reason for
                                                                                                                                Cash
                                                                                                                                Disbursemen
 Date                             Amount                           Payee                            Purpose                     t




                                    TRANSFERS BETWEEN DEBTOR IN POSSESSION ACCOUNTS
“Total Amount of Outstanding Checks and other debits”, listed above, includes:

                              $                 NA                 Transferred to Payroll Account
                              $                 NA                 Transferred to Tax Account


(a) The total of this line on Attachment 4A, 4B and 4C plus the total of 4D must equal the amount reported as
   “Ending Balance” on Schedule of Receipts and Disbursements (Page MOR-2, Line 7).




                                                            MOR-7 GMC BOA
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                                                       ATTACHMENT 4B
                                       MONTHLY SUMMARY OF BANK ACTIVITY - PAYROLL ACCOUNT

Name of Debtor:                 Fibrant LLC, et al.,          Case Number:                           18-10274

Reporting Period beginning              3/1/2019              Period ending                          3/31/2019

Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity. A standard bank reconciliation form can be found
at http://www.usdoj.gov/ust/r21/reg_info.htm.

NAME OF BANK:                   Bank of America                                 BRANCH:              NA

ACCOUNT NAME:                   Fibrant LLC Payroll Acct                ACCOUNT NUMBER:              xxxxxx9654
PURPOSE OF ACCOUNT:             PAYROLL

  Ending Balance per Bank Statement                                                              $                     -
   Plus Total Amount of Outstanding Deposits                                                     $                     -
   Minus Total Amount of Outstanding Checks and other debits                                     $                     -      *
   Minus Service Charges                                                                         $                     -
  Ending Balance per Check Register                                                              $                     -    **(a)

*Debit cards must not be issued on this account.

**If Closing Balance is negative, provide explanation:
The following disbursements were paid ACH or Wire: ( ☐ Check here if cash disbursements were authorized by United States Trustee)


                                                                                                                                       Reason for Cash
          Date                          Amount                Payee                                  Purpose                            Disbursement




The following non-payroll disbursements were made from this account:
                                                                                                                                          Reason for
                                                                                                                                    disbursement from this
Date                            Amount                        Payee                                  Purpose                               account
None

(a)The total of this line on Attachment 4A, 4B and 4C plus the total of 4D must equal the amount reported as
   “Ending Balance” on Schedule of Receipts and Disbursements (Page MOR-2, Line 7).




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                                                               ATTACHMENT 5B
                                                       CHECK REGISTER - PAYROLL ACCOUNT


Name of Debtor:                 Fibrant LLC, et al.,            Case Number:                        18-10274

Reporting Period beginning               3/1/2019               Period ending                       3/31/2019

NAME OF BANK:                   Bank of America                 BRANCH:                             NA

ACCOUNT NAME:                   Fibrant LLC Payroll Acct

ACCOUNT NUMBER:                 xxxxxx9654

PURPOSE OF ACCOUNT:             PAYROLL


Account for all disbursements, including voids, lost payments, stop payment, etc. In the alternative, a computer generated check register can be attached
to this report, provided all the information requested below is included.

         DATE                         Check Number                          Payee                               Purpose                       Amount
No Check Activity




TOTAL                                                                                                                                 $                -




                                                                          MOR-10
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                                     MOR-11
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                                                        ATTACHMENT 4C
                                          MONTHLY SUMMARY OF BANK ACTIVITY - TAX ACCOUNT

Name of Debtor:                    Fibrant LLC, et al.,                     Case Number:           18-10274

Reporting Period beginning                  3/1/2019                        Period ending          3/31/2019

Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity. A standard bank reconciliation form can be found
on the United States Trustee website, http://www.usdoj.gov/ust/r21/index.htm.



NAME OF BANK:                      Not Applicable/No Account for Taxes               BRANCH:

ACCOUNT NAME:                           Not Applicable                    ACCOUNT NUMBER:

PURPOSE OF ACCOUNT:            TAX

  Ending Balance per Bank Statement                                                            $
   Plus Total Amount of Outstanding Deposits                                                   $
   Minus Total Amount of Oustanding Checks and other debits                                    $                             *
   Minus Service Charges                                                                       $
  Ending Balance per Check Register                                                            $                            **(a)

*Debit cards must not be issued on this account.

**If Closing Balance is negative, provide explanation:


The following disbursements were paid by Cash: ( ☐ Check here if cash disbursements were authorized by United States Trustee)

                                                                                                                                      Reason for Cash
Date                               Amount                                   Payee                  Purpose                             Disbursement




The following non-tax disbursements were made from this account:




                                                                         MOR-12
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                                                                            ATTACHMENT 5C
                                                                     CHECK REGISTER - TAX ACCOUNT


Name of Debtor:                 Fibrant LLC, et al.,                Case Number:                     18-10274

Reporting Period beginning                 3/1/2019                 Period ending                    3/31/2019

NAME OF BANK:             Not Applicable/No Account for Taxes       BRANCH:

ACCOUNT NAME:                           Not Applicable              ACCOUNT NUMBER:

PURPOSE OF ACCOUNT:              TAX

Account for all disbursements, including voids, lost checks, stop payments, etc. In the alternative, a computer-generated check register can be attached to
this report, provided all the information requested below is included. http://www.usdoj.gov/ust/



DATE                            Check Number                        Payee                            Purpose                         Amount




TOTAL                                                                                                                                                           (d)
                                                   SUMMARY OF TAXES PAID

Payroll Taxes Paid                                                                                                                                              (a)
Sales & Use Taxes Paid                                                                                                                                          (b)
Other Taxes Paid                                                                                                                                                 (c)
TOTAL                                                                                                                                                           (d)

(a) This number is reported in the “Current Month” column of Schedule of Receipts and Disbursements (Page MOR-2, Line 5O).
(b) This number is reported in the “Current Month” column of Schedule or Receipts and Disbursements (Page MOR-2, Line 5P).
(c) This number is reported in the “Current Month” column of Schedule of Receipts and Disbursements (Page MOR-2, Line 5Q).
(d) These two lines must be equal.




                                                                                       MOR-13
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                                                  ATTACHMENT 4D
                           ESCROW ACCOUNTS AND INVESTMENT ACCOUNTS AND PETTY CASH REPORT


                                                                   ESCROW ACCOUNTS


                                                                                                                                     Ending Account Balance
     Name of Bank                  Account Name                      Account Number                       Purpose                        per Bank Stmt
      Wells Fargo               ChemicaInvest Escrow                    xxxx4600                   Decommissioning of site            $                 -
      Wells Fargo                   Shaw Escrow                         xxxx0700                  Environmental Remediation           $                 -


                                                                 INVESTMENT ACCOUNTS

Each savings and investment account, i.e. certificates of deposits, money market accounts, stocks and bonds, etc., should be listed separately. Attach
copies of account statements.

Type of Negotiable
Instrument                   Face Value                            Purchase Price                  Date of Purchase                  Current Market Value
         NONE


TOTAL

                                                                   PETTY CASH REPORT

The following Petty Cash Drawers/Accounts are maintained:


                             (Column 2)                          (Column 3)
                             Maximum                             Amount of Petty                   (Column 4)
Location of                  Amount of Cash                      Cash On Hand                      Difference between
Box/Account                  in Drawer/Acct.                     At End of Month                   (Column 2) and (Column 3)
  NONE/No Petty Cash




TOTAL                                                      $                                (b)

For any Petty Cash Disbursements over $100 per transaction, attach copies of receipts. If there are no receipts, provide an explanation




TOTAL INVESTMENT ACCOUNTS AND PETTY CASH(a + b)                                             $                NA                (c)



(c)The total of this line on Attachment 4A, 4B and 4C plus the total of 4D must equal the
   amount reported as “Ending Balance” on Schedule of Receipts and Disbursements (Page
   MOR-2, Line 7).




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                                                             ATTACHMENT 6
                                                           MONTHLY TAX REPORT

Name of Debtor:              Fibrant LLC, et al.,        Case Number:                  18-10274

Reporting Period beginning            3/1/2019           Period ending                 3/31/2019

                                                              TAXES OWED AND DUE

Report all unpaid post-petition taxes including Federal and State withholding FICA, State sales tax, property tax, unemployment tax, State
workmen's compensation, etc.

Name of                      Date                                                                                 Date Last
Taxing                       Payment                                                                              Tax Return         Tax
Authority                    Due                              Description               Amount                    Filed              Return Period
            NA                           NA                                        $                       -




TOTAL                                                                              $                       -




                                                                      MOR-15
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                                                                         ATTACHMENT 7
                                                           SUMMARY OF OFFICER OR OWNER COMPENSATION

                                                                SUMMARY OF PERSONNEL AND INSURANCE COVERAGES

Name of Debtor:                                             Fibrant LLC, et al.,                          Case Number:                                       18-10274

Reporting Period beginning                                                  3/1/2019                      Period ending                                      3/31/2019

Report all forms of compensation received by or paid on behalf of the Officer or Owner during the month. Include car allowances, payments to retirement plans, loan
repayments, payments of Officer/Owner’s personal expenses, insurance premium payments, etc. Do not include reimbursement for business expenses Officer or Owner incurred
and for which detailed receipts are maintained in the accounting records.


Name of Officer or Owner                                    Title                                         Payment Description                                                    Amount Paid
David Leach                                                 President & General Manager                   None (termination date 10/31/2018)
William Powers                                              Former VP Operations                          None (termination date 10/31/2017)
Lisa Kirby                                                  Administrative Manager & Secretary            Termination date 01/31/2019
Keith B. Thompson                                           Site Manager                                  None (termination date 6/30/2018)
Lisa Quattlebaum                                            Treasurer                                     Salary; 401-K; Co Health Life Benefits
                                                                                                          Total All                                           $                        13,270


PERSONNEL REPORT
                                                                                            Full Time                                         Part Time
Number of employees at beginning of period                                                          1                                                 1
Number Moved from Full time to Part time                                                            0                                                 0
Number Moved from Full time to Part time                                                            0                                                 0
Number of employees on payroll at end of period                                                     1                                                 1

CONFIRMATION OF INSURANCE

List all policies of insurance in effect, including but not limited to workers' compensation, liability, fire, theft, comprehensive, vehicle, health and life. For the first report, attach a
copy of the declaration sheet for each type of insurance. For subsequent reports, attach a certificate of insurance for any policy in which a change occurs during the month (new
carrier, increased policy limits, renewal, etc.).


                       Coverage                                            Policy Term                    Policy Number                                                    Insurer




The following lapse in insurance coverage occurred this month:

Policy Type                                                 Date Lapsed                                   Date Reinstated                                    Reason for Lapse




☐Check here if U. S. Trustee has been listed as Certificate Holder for all insurance policies.




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                            SIGNIFICANT DEVELOPMENTS DURING REPORTING PERIOD

Information to be provided on this page, includes, but is not limited to: (1) financial transactions that are not reported on this
report, such as the sale of real estate (attach closing statement); (2) non-financial transactions, such as the substitution of assets
or collateral; (3) modifications to loan agreements; (4) change in senior management, etc. Attach any relevant documents.




                                                                                                       Amended Plan and Disclosure
We anticipate filing a Plan of Reorganization and Disclosure Statement on or before                     Statement Filed 2/13/2019




                                                                MOR-17
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Consolidated Balance Sheet
Fibrant LLC; Georgia Monomers Co LLC;                     Actual              Actual              Actual              Actual              Actual              Actual              Actual              Actual              Actual              Actual              Actual              Actual              Actual              Actual
Fibrant South Center LLC;                                2018-02             2018-03             2018-04             2018-05             2018-06             2018-07             2018-08             2018-09             2018-10             2018-11             2018-12             2019-01             2019-02             2019-03
Evergreen Nylon Recycling LLC

   Non-Current Assets:
      Intangible Assets                                            -                   -                   -                   -                   -                   -                   -                   -                   -                   -                   -                   -                   -                   -
      Property, Plant, and Equipment                                   (0)                 (0)                 (0)                 (0)                 (0)                 (0)                 (0)                 (0)                 (0)                 (0)                 (0)                 (0)                 (0)                 (0)

   Financial Assets:
       Shares in Associates                                        -                   -                   -                   -                   -                   -                   -                   -                   -                   -                   -                   -                   -                   -

   Other Non-Current Assets:
      Deferred Tax Assets                                          -                   -                   -                   -                   -                   -                   -                   -                   -                   -                   -                   -                   -                   -

   Current Assets:
      Loan Receivable from Subsidiaries                           -                   -                   -                   -                   -                   -                   -                    -                   -                   -                   -                   -                   -                   -
      Inventories                                           1,114,990           1,089,002           1,089,002           1,086,502           1,086,502           1,086,502           1,086,502           1,086,502           1,086,502           1,086,502           1,086,502           1,086,502           1,086,502           1,086,502
      Income Tax Receivable from Subsidiaries                     -                   -                   -                   -                   -                   -                   -                    -                   -                   -                   -                   -                   -                   -
      Other - US Customs Drawback Claim                       145,800             145,800             145,800                 -                   -                   -                   -                    -                   -                   -                   -                   -                   -                   -
      Trade Accounts Receivable                               723,698             658,310             312,672             114,663              95,119              62,749              62,749              66,060              62,749              62,749              62,749              62,749              62,749              62,749
      Trade Receivables from Subsidiaries                         699                 -                   -                   -                   -                   -                   -                    -                   -                   -                   -                   -                   -                   -
      Non-Trade Receivables from Subsidiaries                     -                   -                   -                   -                   -                   -                   -                    -                   -                   -                   -                   -                   -                   -
      Other Receivables                                           819               6,845               6,545               6,545               6,545                 -                   -                    -                   -                   -                   -                   -                   -                   -
      Deposits & Retainers                                  1,161,519           1,177,553            973,243           1,133,652           1,115,234           1,100,234             902,595             902,095             902,095             902,095             901,095             900,418             900,311             900,969
      Cash and Cash Equivalents:
           Bank of America Operating Account                  260,047             218,327             539,737             230,618             169,357             248,694             116,294              46,393              42,119              38,166              33,696               5,000               1,529              (2,892)
           Bank of America Payroll Account                    251,848             283,472             222,407             244,725             132,527             132,900              86,933              87,713              87,713              87,713              87,713                 -                   -                   -
           Wells Fargo Operating Account                    1,315,684           2,981,962           2,427,175           2,573,334           5,821,042           5,119,615           3,588,249           3,336,406           7,303,075           7,060,309           6,514,056           5,899,230           5,471,122           4,676,833
           Wells Fargo Escrw Acct - Corrective Action       3,094,873           3,093,424           3,094,374           1,322,804             863,615                 -                   -                   -                   -                   -                   -                   -                   -                   -
           Wells Fargo Escrow Account - Chemtrade             251,323             188,930             126,507             189,071              64,133               1,633               1,633               1,633               1,662               1,662                   (0)                 (0)                 (0)                 (0)

   Total Net Assets                                        8,321,298           9,843,626           8,937,461           6,901,914           9,354,075           7,752,327           5,844,956           5,526,803           9,485,916           9,239,196           8,685,811           7,953,899           7,522,213           6,724,162

   Equity:
      Capital                                             (98,075,230)       (100,075,230)       (100,075,230)       (100,075,230)       (105,164,544)       (105,253,799)       (105,253,799)       (105,253,799)       (105,253,799)       (105,253,799)       (105,253,799)       (105,253,799)       (105,253,799)       (105,253,799)
      Actuarial Gains & Losses                               (766,830)           (766,830)           (766,830)           (766,830)           (766,830)           (766,830)           (766,830)           (766,830)           (766,830)           (766,830)           (766,830)           (766,830)           (766,830)           (766,830)
      Retained Earnings                                   139,847,894         139,724,673        135,647,953         136,233,700         137,063,340         137,915,895         138,545,463         137,731,650         133,376,726         133,844,112         134,500,473         134,996,863         135,645,631         136,171,905

   Shareholders Equity                                    41,005,835          38,882,614          34,805,893          35,391,640          31,131,966          31,895,266          32,524,834          31,711,021          27,356,097          27,823,483          28,479,844          28,976,234          29,625,002          30,151,276

   Non-Current Liabilities:
   Provisions:
      Post-Employment Benefits
      Deferred Taxes                                               -                   -                   -                   -                   -                   -                   -                   -                   -                   -                   -                   -                   -                   -

   Borrowings:
       Loans Third Party                                   (1,221,376)         (1,221,376)         (1,221,376)         (1,221,376)         (1,221,376)         (1,221,376)         (1,221,376)                 -                   -                   -                   -                   -                   -                   -

   Other Deferred Income:
      Deferred Income (Funding + Amortization)                     -                   -                   -                   -                   -                   -                   -                   -                   -                   -                   -                   -                   -                   -

   Current Liabilities:
   Provisions:
      Post Employment Benefits                             (4,045,225)         (4,045,225)            (62,825)            (62,825)            (62,825)            (62,825)            (62,825)            (62,825)            (62,825)                 (0)                 (0)                 (0)                 (0)                 (0)
      Decommissioning Provisions                           (7,947,853)         (7,083,133)         (5,722,691)         (4,167,323)         (2,255,497)         (1,093,602)           (401,800)           (328,184)           (289,207)           (283,661)           (283,661)           (283,661)           (283,661)           (283,661)
      Take or Pay Contract Breach Provisions              (26,725,987)        (26,725,987)        (26,725,987)        (26,725,987)        (26,725,987)        (26,725,987)        (26,725,987)        (26,725,987)        (26,725,987)        (26,725,987)        (26,725,987)        (26,725,987)        (26,725,987)        (26,725,987)

   Other Current Liabilities
      Other Taxes-Ga Sales & Use                               (16,909)            (2,894)             (6,570)             (5,098)             (2,819)               (279)               (435)               (122)               (504)                -                   -                   -                   -                   -
      AP Third Party-Liability Subject to Compromise      (8,875,619)         (9,053,533)         (9,349,018)         (9,549,462)         (9,521,108)         (9,502,995)         (9,505,063)         (9,503,886)         (9,521,561)         (9,521,561)         (9,521,745)         (9,521,561)         (9,521,561)         (9,521,561)
      AP Third Party-Post Petition                            (64,803)          (170,367)           (229,568)           (134,870)           (269,334)           (940,797)           (362,591)           (526,549)           (152,548)           (442,088)           (544,881)           (309,542)           (526,625)           (254,847)
      Depost held on Customer                                  (90,000)           (90,000)            (90,000)            (90,000)            (90,552)            (92,069)            (90,000)            (90,559)            (89,382)            (89,382)            (89,382)            (89,382)            (89,382)            (89,382)
      Payroll Withholding Café Plans                           (10,361)            (4,726)              (6,319)            (7,613)             (7,544)             (7,664)                287                 287                 -                   -                   -                   -                   -                   -
      Workers Comp Liability                                 (329,000)           (329,000)           (329,000)           (329,000)           (329,000)                -                   -                   -                   -                   -                   -                   -                   -                   -

   Total Liabilities                                     (49,327,133)        (48,726,240)        (43,743,355)        (42,293,554)        (40,486,041)        (39,647,593)        (38,369,790)        (37,237,825)        (36,842,013)        (37,062,679)        (37,165,655)        (36,930,132)        (37,147,215)        (36,875,438)

   Total Liabilities, Stockholders Equity, and Minority Interest
                                                           (8,321,298)        (9,843,626)         (8,937,461)         (6,901,914)         (9,354,075)         (7,752,327)         (5,844,956)         (5,526,803)         (9,485,916)         (9,239,196)         (8,685,811)         (7,953,899)         (7,522,213)         (6,724,162)


Consolidated Income Statement
Fibrant LLC; Georgia Monomers Co LLC;
Fibrant South Center LLC; Evergreen Nylon Recycling LLC
                                  For the Period Feb 24-28, 2018             2018-03             2018-04             2018-05             2018-06             2018-07             2018-08             2018-09             2018-10             2018-11             2018-12             2019-01             2019-02             2019-03

   Sales                                                     446,396             353,466             247,656             286,853              48,276                   -                   -                   -                   -                   -                   -                   -                   -                   -

   Variable Cost/Inventory Adjustments                       (378,461)            (16,252)                 -                   -                   -                   -                   -                   -                   -                   -                   -                   -                   -                   -

   Profit Contribution                                        67,935             337,214             247,656             286,853              48,276                   -                   -                   -                   -                   -                   -                   -                   -                   -

   Depreciation                                                   -                   -                    -                   -                  -                    -                  -                   -                   -                   -                   -                   -                   -                   -
   Fixed Costs                                               -362,899            -358,721             -362,277          -1,042,067           -962,709           -1,236,646           -778,863            -418,683            -857,257            -556,357            -654,699            -498,390            -649,870            -530,658
   Other Income/Expense                                           -              143,569            4,156,913             360,883             (97,504)            383,240            149,042            1,232,496           3,994,087              88,971              (1,664)              2,000               1,102               4,384

   Operating Result before Certain Corp Serv Costs          (294,964)            122,062           4,042,292            (394,331)         (1,011,938)           (853,405)           (629,822)            813,813           3,136,831            (467,385)           (656,363)           (496,390)           (648,768)           (526,274)
   Corporate Service Costs                                                            -                   -                   -                   -                   -                   -                   -                   -                   -                   -                   -                   -                   -
   Operating Result                                         (294,964)            122,062           4,042,292            (394,331)         (1,011,938)           (853,405)           (629,822)            813,813           3,136,831            (467,385)           (656,363)           (496,390)           (648,768)           (526,274)

   Interest/Loan Impair Income Third Parties                       -                1,159               1,027               1,115               1,080                  850                 253                 -            1,221,404                  -                       2               -                   -                   -
   Interest Expense - Third Parties                                                   -                   -                   -                   -                    -                   -                   -                  -                    -                   -                   -                   -                   -

   Special Items                                                   -                   -                   -                   -                   -                   -                   -                   -                   -                   -                   -                   -                   -                   -

   Current Tax Expense                                             -                   -                   -                   -                   -                   -                   -                   -                   -                   -                   -                   -                   -                   -
   Deferred Tax Expense                                            -                   -                   -                   -                   -                   -                   -                   -                   -                   -                   -                   -                   -                   -

   Net result                                               (294,964)            123,221           4,043,319            (393,216)         (1,010,858)           (852,555)           (629,568)            813,813           4,358,235            (467,385)           (656,361)           (496,390)           (648,768)           (526,274)
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